Case 1:23-cv-00528-TMH     Document 89    Filed 09/13/24   Page 1 of 1 PageID #: 1950




                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  WOLFRAM ARNOLD, ERIK
  FROESE, TRACY HAWKINS,
  JOSEPH KILLIAN, LAURA CHAN
  PYTLARZ, and ANDREW
  SCHLAIKJER,


                     Plaintiffs,           C.A. No. 1:23-cv-528-JLH-CJB

        v.

  X CORP. f/k/a TWITTER, INC., X
  HOLDINGS CORP. f/k/a X
  HOLDINGS I, INC. and ELON
  MUSK,

                     Defendants.



                             NOTICE OF SUBPOENA

       PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45,

 that the Plaintiffs intend to serve a Subpoena, in the form attached hereto, on Sam

 Teller on September 13, 2024 or as soon thereafter as service may be effectuated.

  Dated: September 13, 2024                /s/ Joseph L. Christensen
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